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                       UNITED STATES DISTRICT COURT
                        MIDDLE DISTRICT OF FLORIDA
                          JACKSONVILLE DIVISION


 UNITED STATES OF AMERICA
 v.
 AARON DURALL                              CASE NO. 3:20-cr-86-TJC-JBT
 CHRISTIAN FLETCHER
 NEISHA ZAFFUTO
 AARON ALONZO

 Counsel for Government:             Counsel for Defendant:
 Andrew Tysen Duva                   Brian T. Rafferty (Aaron Durall)
 Gary A. Winters                     Steven H. Sadow (Christian Fletcher)
 James V. Hayes                      Vince Citro (Christian Fletcher)
                                     Joshua Sabert Lowther (Neisha Zaffuto)
                                     Andrew Bonderud (Aaron Alonzo)


                 HONORABLE TIMOTHY J. CORRIGAN,
                  UNITED STATES DISTRICT JUDGE

 Courtroom Deputy: Kerri Hatfield          Court Reporter: Shannon Bishop


                            CLERK’S MINUTES

 PROCEEDINGS OF JURY TRIAL:

 Jury resumed deliberations.

 Court provided lunch for the 12 deliberating jurors and the 4 alternate jurors
 who are required to remain in the courthouse until the jury reaches a verdict.

 Allen Charge given.

 Court Exhibit – 4 (See “Jury Note” docket entry)

 Jury returns with a verdict. All defendants found NOT GUILTY on all
 counts. Judgments of acquittal to enter.

 Jury polled.
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 Jury discharged.




 DATE: March 21, 2023                     TIME: 11:28 a.m. – 11:55 a.m.
                                                12:41 p.m. – 1:21 p.m.
                                                 4:05 p.m. – 4:19 pm

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